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10
                           UNITED STATES DISTRICT COURT

11                        CENTRAL DISTRICT OF CALIFORNIA
12
      MARK MCCLENNING, an individual, ) Case No. CV 12-08040 CAS (RZx)
13
                                      )
14                      Plaintiff,    ) NOTICE OF SETTLEMENT
15
           vs.                        )
                                      )
16    NCO FINANCIAL SYSTEMS, INC. a )
17    Pennsylvania Corporation,       )
                                      )
18
                                      )
19                      Defendant.    )
                                      )
20

21
            NOTICE IS HEREBY GIVEN that the parties have reached an agreement in
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23
      principle to resolve this matter in its entirety. Plaintiff Mark McClenning and
24
      Defendant NCO Financial Systems, Inc., anticipate finalizing a written agreement
25
      and filing a stipulation of dismissal of this action in its entirety with prejudice
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27    within 45 days.
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                                        Notice of Settlement

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            The parties jointly request that all pending dates and filing requirements be
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      vacated and that the Court set a deadline on or after March 29, 2013 for filing
 3

 4    dispositional documents.
 5

 6

 7

 8
      Dated: 2/13/13                 /s/Adam Stevens
 9                                   Adam Stevens
10
                                     Attorney for Plaintiff
                                     Mark McClenning
11

12

13
      Dated: 2/13/13                 SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
14
                                     /s/ Albert R. Limberg
15                                   Albert R. Limberg
16
                                     Attorney for Defendant
                                     NCO Financial Systems, Inc.
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                                        Notice of Settlement

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